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            EXHIBIT 2
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                                IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TENNESSEE
                                          EASTERN DIVISION

   CONSOLIDATED INDUSTRIES, LLC                        )
   d/b/a WEATHER KING PORTABLE                         )
   BUILDINGS,                                          )
                                                       )
               Plaintiff,                              )
                                                       )   Civil Action No. l:22-cv-01230
   v.                                                  )
                                                       )
   JESSE A. MAUPIN, BARRY D.                           )
   HARRELL, ADRIAN S. HARROD,                          )
   LOGAN C. FEAGIN, STEPHANIE L.                       )
   GILLESPIE, RYAN E. BROWN, DANIEL                    )
   J. HERSHBERGER, BRIAN L. LASSEN,                    )
   ALEYNA LASSEN, and AMERICAN                         )
   BARN CO., LLC,                                      )
                                                       )
               Defendants.                             )



                 BARRY D. HARRELL S RESPONSES TO PLAINTIFF’S
         FIRST SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION OF
                   DOCUMENTS, AND REQUESTS FOR ADMISSION

          Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, Barry D. Harrell, by and through his

  attorneys, states the following responses.

                                          INTERROGATORIES

           1.        Identify each business enterprise that has been engaged in the Portable Buildings

  Industry with which you played any role in planning its creation or formation and, with respect to

  each such enterprise, identify: (a) your specific role(s) relating to the creation/formation; (b) the

  dates in which you were involved in the planning; and (c) all other individuals and entities who

  were involved in planning the creation/formation.

          RESPONSE:



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           Harrell objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case, nor relevant to any issue in the case. To collect all of this

   information would impose an unnecessary burden on Harrell. Subject to and without waiving

   these objections, Harrell states as follows: American Barn Co., LLC, January 2022, co-owner;

   ABCO Rentals, co-owner, May 2022

           2.      Other than Weather King, identify each business enterprise in the Portable

   Buildings Industry in which you have held an ownership interest and/or performed services

   (whether as an employee, an independent contractor, or in any other capacity) since January 1,

   2021, and, with respect to each such enterprise, identify: (a) your specific relationship with the

   entity, including but not limited to all titles and positions you have held; (b) the nature and extent

   of any ownership interest in the enterprise; (c) the dates of your relationship; and (d) your role and

   duties for the entity.

           RESPONSE:

           See Response to Interrogatory No. 1.

           3.      Identify each communication you have had with any person or entity (other than

  confidential communications solely with your legal counsel, your spouse, or your accountant)

  between January 1, 2021, and through the day of the termination of your employment with Weather

  King (including but not limited to communications with lenders or potential lenders, investors or

  potential investors, business partners or potential business partners, Weather King employees,

  Weather King contractors, Weather King dealers, Weather King builders, Weather King drivers,

  other Weather King business partners, rental companies, and Weather King customers) relating to

  the creation/formation or potential creation/formation of, funding or potential funding of, and/or

  operation or potential operation of any business enterprise in the Portable Buildings Industry (other

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   communication; (b) identify all parties to the communication; (c) identify the date of the

   communication; and (d) identify the mode of the communication (/.<?., telephonic conversation,

   email, text message, etc.).

          RESPONSE:

          Harrell objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case, nor relevant to ay issue in the case. To collect all of this

   information would impose an unnecessary burden on Harrell.

          6.      Identify each person and/or entity with whom you have discussed funding, potential

   funding, or providing other financial support to or for any business enterprise in the Portable

   Business Industry since January 1,2021, whether as an investor, a lender, or in any other capacity.

          RESPONSE:

          Harrell objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

          7.      Identify all then-current Weather King dealers to whom you suggested should

   demand a higher commission from Weather King, and with respect to each such dealer: (a) specify

   the date of the communication; (b) specify all parties to the communication; (c) specify the mode

   of the communication (i.e., telephonic or text); (d) set forth the substance of the communication;

   and (e) identify all documents relating to the communication.

          RESPONSE:

          Harrell objects to this interrogatory as unduly broad, overly burdensome, and not

  proportional to the needs of the case.

          8.      Identify all property of Weather King (including but not limited to electronically

  stored information) that has been in your possession at any time after the date of the termination

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   in which you made use of the property for any purpose other than the furtherance of Weather

   King’s business.

           RESPONSE:

           None.

           11.     Identify all email accounts, cell phone numbers (and providers), messaging

   services, Google drive accounts, Dropbox accounts, and any other cloud-based account that you

   have used at any time since January 1, 2022, through the present.

           RESPONSE:

           Harrell objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

           12.     Identify each device in your possession, custody, or control, including but not

   limited to laptop computers, desktop computers, cell phones (including number and provider),

   tablets, or other portable electronic or storage devices, that contains or contained any information

   that refers to, relates to, or was created by Weather King.

          RESPONSE:

          None.

           13.     For each lawsuit, bankruptcy proceeding, criminal proceeding, or administrative

  proceeding, including divorce proceedings, to which you have been a party, state: (a) the court or

  agency in which said proceeding was instituted, the names of the parties to the proceeding, the

  docket number of said proceeding, the date the proceeding was filed and the date the proceeding

  was finally terminated; (b) the nature of the proceeding, including a description of the claims and

  defenses, if applicable, and (c) the manner in which the proceeding was resolved (for example, by

  settlement, by court order).

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              RESPONSE;

              Harrell objects to this interrogatory as unduly broad, overly burdensome, and not

      proportional to the needs of the case.




                                               VERIFICATION

              I, Barry D. Harrell, declare under penalty of perjury that the foregoing responses to

     Plaintiffs First Set of Interrogatories are true and correct to the best of my knowledge, information,

     and belief.



                                                   ^5^
                                                    Barry D. Harrell

                                                    DATE:




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          RESPONSE:

          None.

          6.      All correspondence and other documents exchanged with any former Weather King

   employees between January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

          7.      All correspondence and other documents exchanged with any then-current Weather

   King employees after January 1, 2022.

          RESPONSE:

          None.

          8.      All correspondence and other documents exchanged with any then-current Weather

   King dealers (including but not limited to employees and agents of those dealers) between January

   1,2022, and July 1,2022.

          RESPONSE:

          None.

          9.      All correspondence and other documents exchanged with any then-current Weather

  King builders (including but not limited to employees and agents of those builders) between

  January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

          10.     All correspondence and other documents exchanged with any then-current Weather

  King customers (including but not limited to employees and agents of those customers) between

  January 1, 2022, and July 1, 2022.

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           RESPONSE:

          None.

           11.    All correspondence and other documents exchanged with any then-current Weather

   King drivers (including but not limited to employees and agents of those drivers) between January

   1,2022, and July 1,2022.

          RESPONSE:

          None.

           12.    All correspondence and other documents exchanged with any Portable Buildings

   Industry rental companies and/or rental companies being formed (including but not limited to

   employees and agents of those entities) between January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

           13.    All correspondence and other documents exchanged with BPS, LLC, BPS Rentals,

  LLC, Keith Priestley, Jerry Sawyer or Troy Buttrey between July 1, 2021, and July 1, 2022.

          RESPONSE:

          None.

           14.    All non-privileged correspondence and other documents related to:

          (a) any of the Defendants’ departure from Weather King;

          (b) any of the Defendants’ communications with any Weather King employees about the

          possibility of leaving Weather King or joining ABCO;

          (c) any of the Defendants’ communications with any Weather King builders, dealers,

          drivers, rental companies, or contractors, about the possibility of doing business with

          ABCO or ceasing doing business with Weather King;

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           (d) any claims or potential claims made by Weather King against any of the Defendants;

           (e) any of the Defendants’ possession of or use of any Weather King property; or

           (f) derogatory remarks made by any of the Defendants relating to Weather King;

          RESPONSE:

          None.

           15.    All communications and other documents relating to instances in which you

   suggested to Weather King dealers that they demand a higher commission from Weather King.

          RESPONSE:

          None.

           16.    All communication and other documents relating to instances in which you sent

   Weather King’s Florida dealers images of Florida sales lots with ABCO logos or other trade dress.

          RESPONSE:

          None.

           17.    All correspondence and other documents exchanged with any person or entity

  related to the leasing or potential leasing of any property located in Arizona or New Mexico.

          RESPONSE:

          None.

          18.     All emails and attachments sent from your Weather King company email address

  to any personal email address since January 1,2021.

          RESPONSE:

          None.




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           RESPONSE:

           None.

           24.     All communications and other documents related to your use of any Weather King

   templates or form documents for any purpose other than the furtherance of Weather King’s

   business.

           RESPONSE:

           None.

           25.     All correspondence and other documents referencing or relating to Weather King’s

   business operations.

           RESPONSE:

           None.

           26.     All documents evidencing distributions, salary, wages, bonuses, commissions, or

   other compensation paid or accrued to you by any entity in the Portable Buildings Industry, other

   than Weather King, from January 1, 2021, through the date of response.

           RESPONSE:

           Harrell objects to this document request as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

           27.     All agreements between you and any of the other Defendants.

           RESPONSE:

           None.

           28.     All agreements between you and any dealers, builders, lenders, investors, or rental

   companies in the Portable Buildings Industry.

           RESPONSE:

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           None.

           29.     All photographs, video, and/or audio recordings of Weather King property and/or

   current or former Weather King employees or officers.

           RESPONSE:

           None.

           30.     All documents reflecting notes, diaries, journals, expense records, day planners,

   calendars, and/or other record(s) maintained by you that record, refer, or otherwise relate to your

   activities, including, but not limited to any appointment, meeting, interview, placement, or other

   business activities in the Portable Buildings Industry from January 1, 2022, through July 1, 2022.

           RESPONSE:

           Harrell objects to this document request as unduly broad, overly burdensome, and not

   proportional to the needs of the case.

           31.     All correspondence and/or other documents which relate to or refer in any way to

   your decision to become affiliated with a business enterprise in the Portable Buildings Industry

   other than Weather King or to depart from Weather King.

           RESPONSE:

           None.

           32.     All phone records from January 1, 2022, through July 1, 2022, related to any device

   that you have used during that time period.

           RESPONSE:

           Harrell objects to this document request as unduly broad, overly burdensome, and not

   proportional to the needs of the case.



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